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 4   ORRICK, HERRINGTON & SUTCLIFFE LLP
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 5   Menlo Park, CA 94025-1015
     Telephone:    650 614 7400
 6   Facsimile:    650 614 7401
 7   Attorneys for Defendant
     CLARK CONSTRUCTION GROUP-CALIFORNIA, INC.
 8

 9                                UNITED STATES DISTRICT COURT
10                           NORTHERN DISTRICT OF CALIFORNIA
11

12   LAWRENCE HALEY, as an individual,            Case No. 4:18-cv-07542-HSG

13                   Plaintiff,                   DECLARATION OF MARK A.
                                                  KALISH, M.D. IN SUPPPORT OF
14         v.                                     DEFENDANT CLARK
                                                  CONSTRUCTION GROUP-
15   CLARK CONSTRUCTION GROUP-                    CALIFORNIA, INC.’S MOTION TO
     CALIFORNIA, INC., a corporation; DOES 1-     COMPEL INDEPENDENT MENTAL
16   100,                                         EXAMINATION

17                   Defendants.                  Date: December 5, 2019
                                                  Time: 2:00 p.m.
18                                                Dept: Courtroom 2, 4th Fl.
                                                  Judge: Hon. Haywood S. Gilliam, Jr.
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                                                        DECLARATION OF MARK KALISH ISO MOTION TO
                                                         COMPEL INDEPENDENT MENTAL EXAMINATION
                                                                     [CASE NO. 4:18-CV-07542-HSG]
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 1           I, Mark A. Kalish, M.D., hereby declare:

 2           1.      I am a medical doctor, licensed to practice in the State of California, and

 3   specializing by training and practice in the field of psychiatry. I make this declaration in support

 4   of the motion by Defendant Clark Construction Group-California, Inc. (“Clark”) to Compel an

 5   Independent Mental Examination of Plaintiff Lawrence Haley. I have personal knowledge of the

 6   matters contained in this declaration and, if called to testify as a witness to those matters, could do

 7   so competently.

 8           2.      I received a Bachelor of Science degree in Biology from the University of

 9   Michigan in 1972, where I graduated Phi Beta Kappa. I received a Master’s degree in Public

10   Health from the University of Michigan in 1977 and a Medical Degree from Northwestern

11   University Medical School in 1977. I completed an internship at Loma Linda University Medical

12   School Department of Psychiatry in Loma Linda, California, in 1978, and then completed my

13   psychiatric residency at the University of California, San Diego Department of Psychiatry from

14   July 1979 through July 1982.

15           3.      I am board certified by the American Board of Psychiatry and Neurology in

16   Psychiatry, by the American Board of Forensic Psychiatry in Forensic Psychiatry. I was

17   designated a Distinguished Fellow with the American Psychiatric Association in 2003. I served as

18   Examiner for the American Board of Psychiatry & Neurology from 1990 to 1996, in 1998, and in

19   2000 and for the American Board of Forensic Psychiatry from 1990 to 1991. I served as a

20   Clinical Instructor, Department of Psychiatry, at the University of California, San Diego from

21   1983 to 1989 and in a voluntary position as Assistant Clinical Professor, Department of

22   Psychiatry, at the University of California, San Diego from 1989 to June 2019.

23           4.      I have performed psychiatric evaluations for more than 35 years. Until my

24   retirement in March 2016, I had an office practice treating the full spectrum of patients with

25   psychiatric disorders, including anxiety, depression, manic depressive or bipolar illness,

26   schizophrenia, and post-traumatic stress disorder. I have been retained as an expert witness in

27   civil litigation in dozens of cases, both for the plaintiff and for the defendant. I have testified as an

28   expert witness at trial dozens of times. Attached hereto as Exhibit A is a true and correct copy of
                                                                    DECLARATION OF MARK KALISH ISO MOTION TO
                                                                     COMPEL INDEPENDENT MENTAL EXAMINATION
                                                                                 [CASE NO. 4:18-CV-07542-HSG]
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 1   my curriculum vitae.

 2          5.      I have been retained by Clark and its counsel, Orrick, Herrington & Sutcliffe LLP,

 3   to conduct a mental examination of Plaintiff Lawrence Haley.

 4          6.      It is my understanding that Mr. Haley alleges severe emotional distress as a result

 5   of Clark’s alleged conduct toward him, and that he sought counselling by multiple psychologists

 6   or medical treaters.

 7          7.      I believe that an independent mental examination in this case would help

 8   determine the following: (1) the scope and severity of Mr. Haley’s suffering; (2) the cause of Mr.

 9   Haley’s emotional and physical suffering; (3) whether Mr. Haley’s suffering is the result of

10   alternative stressors other than Clark’s alleged conduct; and (4) the accuracy of Mr. Haley’s

11   diagnoses and the results of any treatments, if any. This is a basic, but not an exhaustive, list.

12          8.      The examination should include a psychiatric interview between Mr. Haley and

13   myself, as well as psychological testing, which may include the Minnesota Multiphasic

14   Personality Inventory 2 (the “MMPI-2”). The MMPI-2 is a widely used psychological test. It can

15   be used to reach a consistent, comprehensive picture of an individual’s emotional and personality

16   functioning.

17          9.      Assessment of Mr. Haley will involve an inquiry into Mr. Haley’s current mental

18   status, cognitive and emotional functioning, the work experiences that he alleges contributed to

19   complaints of emotional distress, any medical or psychological treatment for symptoms from the

20   alleged distress, his experiences between the end of his work at the Clark job site to the time of

21   the evaluation to assess the stress factors contributory to continuing stress symptoms, and his past

22   personal history involving his family, significant developmental experiences, educational and

23   occupational history, dating and marital history, litigation history, financial history, and past

24   medical and psychiatric history. A significant portion of a psychiatric diagnosis is based on

25   history. All these areas of inquiry are standard practice for an analysis and diagnosis. Because

26   there is no simple test to pinpoint the causes and stress factors contributing to most psychiatric

27   injuries, I must rely upon an inquiry into all possible avenues of stress and distress. Any limit on

28   the inquiries necessarily results in an incomplete and potentially erroneous assessment.
                                                                   DECLARATION OF MARK KALISH ISO MOTION TO
                                                      -2-           COMPEL INDEPENDENT MENTAL EXAMINATION
                                                                                [CASE NO. 4:18-CV-07542-HSG]
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 1          10.     In addition, it is critical that I corroborate, where possible, Mr. Haley’s self-

 2   reported history with other sources such as medical records and documents, to increase the

 3   accuracy of my diagnosis and medical-legal opinions and conclusions. To that end, I will review

 4   Mr. Haley’s deposition testimony, and any other documents produced to Clark regarding Mr.

 5   Haley’s medical and psychiatric history and the claims he alleges in this matter. The records are

 6   not duplicative of the material covered in the examination, but rather serve as a point of

 7   corroboration and comparison.

 8          11.     The total length of the interview and psychological testing will be up to five hours,

 9   excluding breaks, and assuming a good faith effort by Mr. Haley. During this time, no one else

10   will be present in the examination room other myself and Mr. Haley. In my experience, having

11   other individuals present during the examination disrupts the examination process and interferes

12   with my ability to obtain complete and accurate responses from Mr. Haley.

13          12.     The five hours of examination are adequate to ensure the accuracy of my

14   psychiatric diagnosis and the correctness of my medical-legal opinions and conclusions. The five-

15   hour period allows sufficient time for me to ask follow up questions from earlier interview

16   discussions. It also allows Mr. Haley to supplement or correct any information he provided during

17   the beginning of the examination. Frequently, unconscious processes are stimulated in the initial

18   part of the interview, which allow an examinee to remember history that he could not otherwise

19   have provided. Examinees are more often able to reveal intimate details in the latter part of the

20   interview, after we have developed a rapport. These details may be important to a comprehensive

21   and accurate psychiatric diagnosis.

22          13.     Per my usual practice, I will audio record the examination. I routinely audio record

23   my examinations because it provides a complete record of the examinee’s answers. A transcript

24   of the audio recording may also be prepared and may assist in the preparation of my report. I will

25   rely on the recording while analyzing the examinee’s responses and drawing conclusions. During

26   the examination, I focus on the examinee’s answers, rather than on note-taking. Therefore, the

27   audio recording assists where my memory or notes of the examination fail. Accordingly, the

28   audio recording is essential to my diagnostic work. Mr. Haley is welcome to bring his own
                                                                  DECLARATION OF MARK KALISH ISO MOTION TO
                                                      -3-          COMPEL INDEPENDENT MENTAL EXAMINATION
                                                                               [CASE NO. 4:18-CV-07542-HSG]
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 1   recording device to audio record the examination.

 2          I declare under penalty of perjury under the laws of the United States of America that the

 3   foregoing is true and correct and that this declaration is executed on July 18, 2019.

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                                                                   Mark A. Kalish, M.D.
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                                                                 DECLARATION OF MARK KALISH ISO MOTION TO
                                                     -4-          COMPEL INDEPENDENT MENTAL EXAMINATION
                                                                              [CASE NO. 4:18-CV-07542-HSG]
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  EXHIBIT A
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                                          CURRICULUM VITAE

                                                   OF

                                         MARK A. KALISH, M.D.


                                         BIOGRAPHICAL DATA


Date of Birth: November 1, 1951

Place of Birth: Chicago, Illinois

Marital Status: Married


                                      MAILING ADDRESS
5052 Clairemont Dr. #17806
San Diego, California 92117
       (619) 282-7172
Fax: (619) 282-7626
Email: Mark@MarkKalish.com

                                              EDUCATION

B.S., The University of Michigan; Ann Arbor, Michigan; Major - Biology
August, 1972

M.P.H., The University of Michigan; Ann Arbor, Michigan; Major - Medical Care Organization;
December, 1977

M.D., Northwestern University Medical School; Chicago, Illinois; December, 1977

Internship: Loma Linda University Medical School; Loma Linda, California;
Department of Psychiatry; January - December, 1978
Training Director: Louis P. Bozzetti, M.D.

Residency: The University of California, San Diego
Department of Psychiatry, M-300, La Jolla, California 92037 July, 1979 - July, 1982
Training Director: Robert Nemiroff, M.D.
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                                                                        Mark A. Kalish Page |2


                                            MEDICAL LICENSE

California Physician & Surgeon License, G 38634, January 2, 1979

                                         BOARD CERTIFICATION

Diplomate, Board of Medical Examiners, 1979

Diplomate in Psychiatry, American Board of Psychiatry and Neurology, 1986

Diplomate in Forensic Psychiatry, American Board of Forensic Psychiatry, 1989

Diplomate in the Subspecialty of Forensic Psychiatry, American Board of Psychiatry and Neurology,
October, 1994 - October, 2004

Recertification in Forensic Psychiatry, American Board of Psychiatry and Neurology, 2003 - 2013

Examiner, American Board of Forensic Psychiatry, 1990 - 1991

Examiner, American Board of Psychiatry & Neurology, 1990 – 1996, 1998, 2000

Fellow, American Psychiatric Association, 2001

Distinguished Fellow, American Psychiatric Association, 2003

                                          ACADEMIC POSITIONS

Assistant Clinical Professor, voluntary; Department of Psychiatry, The University of California,
San Diego; 1989 to 2019

Clinical Instructor, voluntary; Department of Psychiatry, The University of California, San Diego; 1983
to 1989

                                   PROFESSIONAL EXPERIENCE

Psychiatric Consultant to the Military Entrance Processing Station, 1997 - present

Medical Consultant, California State Department of Corporations, 1997 - 2001

Medical Expert Reviewer, Medical Board of California, 1995 - present

Medical Expert Panel, California State Bar Court, 1995 - 1997

Staff Psychiatrist, Richard J. Donovan Correctional Facility, San Diego, California July, 1987 to June,
1988

Staff Psychiatrist, Metropolitan Correctional Center, San Diego, California; June, 1984 to October,
1985; October, 1987 to November, 1988
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                                                                      Mark A. Kalish Page |3


Psychiatric Consultant; California State Department of Rehabilitation, 1350 Front Street, San Diego,
California 92101; July, 1982 to January, 1984

Consultant; CRASH Golden Hills Residential Treatment Facility,
2410 "E" Street, San Diego, California 92102; January, 1980 to May, 1989

Medical Director, CRASH Short Term Residential Drug Treatment Program,
July, 1980 to July, 1981

Emergency Room Physician, Jerry L. Pettis Memorial Veterans Administration Medical Center, Loma
Linda, California; January, 1979 to July, 1979

                                       MEDICAL STAFF POSITIONS

Treasurer, Vista Hill Medical Staff, 1985

Secretary, Vista Hill Medical Staff, 1986

Chairman, Pharmacy & Therapeutics Committee, Vista Hill Hospital, 1985, 1986

Member, Pharmacy & Therapeutics Committee, Mercy Hospital, 1985 to 2001

Chairman, Ad Hoc Committee on Sedative-Hypnotics, P & T, Mercy Hospital, 1985

Member, Library Committee, Mercy Hospital, 1985 to 1993

Chairman, Committee on Psychiatry & the Law, San Diego Society of Psychiatric Physicians, 1987 to
1990

Member, Peer Review Committee, San Diego Society of Psychiatric Physicians, 1991 to 1998

Chairman, Peer Review Committee, San Diego Society of Psychiatric Physicians, 1992 to 1994


                                    PROFESSIONAL ORGANIZATIONS

                                            Phi Beta Kappa, 1972

                             American Public Health Association, 1977-1990

                                San Diego Psychiatric Society, 1981-2005

                              American Psychiatric Association, 1981 -2005

                              California Psychiatric Association, 1981-2005

                                  San Diego Medical Society, 1981-2005
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                                                    Mark A. Kalish Page |4


                  American Medical Association, 1981-2005

                  California Medical Association, 1981 -2005

         American Academy of Psychiatry and the Law, 1986 to 2005


                        COMMUNITY ORGANIZATIONS

                     Board of Directors, Friends of Mercy,
                                 1989 to 1994

                 Secretary Treasurer, Friends of Mercy, 1990

                    Vice President, Friends of Mercy, 1991

                      President, Friends of Mercy, 1992

             Board of Directors, Mercy Physicians Medical Group,
                                 1989 to 1991

Board of Directors, International Aerospace Hall of Fame, San Diego, California,
                                  1985 to 1991

         Board of Directors, The Monarch School Project 2015 - 2018
